Case 2:15-cr-00002-RAJ-DEM Document 159 Filed 11/05/18 Page 1 of 4 PageID# 2196




                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE EASTERN DISTRICT OF VIRGINIA

                                         Norfolk Division

 JASON MARVIN SAUNDERS,                         )
                                                )        Criminal No. 2:15cr2
               Petitioner                       )        Civil No. 2:17cv610
                                                )
        v.                                      )
                                                )
 UNITED STATES OF AMERICA,                      )
                                                )
               Respondent.                      )
                                                )

                RESPONSE OF THE UNITED STATES TO PETITIONER’S
                       MOTION FOR RECONSIDERATION

        The United States of America, by and through its attorneys, G. Zachary Terwilliger,

 United States Attorney for the Eastern District of Virginia, and Andrew Bosse, Assistant United

 States Attorney, hereby responds to the Petitioner’s (Jason Marvin Saunders’) motion for

 reconsideration (Docket No. 158) of the Court’s denial of his post-conviction motion made

 pursuant to Title 28, United States Code, Section 2255, to vacate, set aside, or correct sentence

 (Docket No. 138). The government respectfully submits that petitioner’s motion should be

 denied. In support thereof, the government states as follows:

        1.     Petitioner filed his § 2255 motion on November 24, 2017. Docket No. 138.

        2.     On April 23, 2018, the government filed through CM/ECF its response in

 opposition. The filing included a memorandum of law and three exhibits comprising affidavits

 by petitioner’s trial counsel (Rodolfo Cejas, Esq., and Suzanne Katchmar, Esq.) and appellate

 counsel (Patrick Bryant, Esq.). Docket No. 144.

        3.     The same day, as per the undersigned’s practice, the undersigned sent, at

 3:00 p.m., an email asking a U.S. Attorney’s Office paralegal to mail a copy of the responsive
Case 2:15-cr-00002-RAJ-DEM Document 159 Filed 11/05/18 Page 2 of 4 PageID# 2197




 papers to Mr. Saunders. The undersigned has spoken to the paralegal who received that email.

 She states that while she has no specific recollection of making this particular mailing more than

 six months ago, it is her standard practice to mail such documents to incarcerated filers in

 postconviction cases like this one, and that, especially given the specific emailed request, she

 believes she would have done so in this case.

        4.      The undersigned did not receive any returned mail or other notification indicating

 that the responsive papers did not reach petitioner.

        5.      Petitioner did not file a reply brief, and on June 22, 2018, the Court denied the

 § 2255 motion. Docket No. 150.

        6.      Approximately five weeks later, on July 30, 2018, petitioner filed a motion for

 reconsideration styled as an “Affidavit of Facts,” which alleged that he never received a copy of

 the government’s response to his motion.        Docket No. 151.     That document was deficient

 because it was not signed. See Docket No. 152.          On August 1, 2018, the Court directed

 petitioner to resubmit the motion with its deficiency corrected within thirty days. Id.

        7.      On August 20, 2018, petitioner resubmitted the “Affidavit of Facts” with a

 signature, and the Court denied the motion the next day. Dockets Nos. 153-154.

        8.      On September 4, 2018, petitioner sent a letter to the clerk’s office requesting a

 copy of the government’s responsive brief, Docket No. 155, and then on October 30, 2018, he

 filed the instant motion for reconsideration, again alleging he never received the government’s

 responsive brief, Docket No. 158.

        9.      While the government cannot say with absolute certainty that petitioner received

 its responsive brief—as it is possible the material was, for example, lost in the mail, or otherwise

 did not reach petitioner at USP Big Sandy—the government notes that petitioner previously has

 made multiple fabrications under penalty of perjury. See, e.g., Docket No. 138 at p.5 (stating
                                                  2
Case 2:15-cr-00002-RAJ-DEM Document 159 Filed 11/05/18 Page 3 of 4 PageID# 2198




 that the federal prosecutors and petitioner’s counsel “knowingly conspired and presented

 fraudulent documents and fraudulent statement[] to the Court to violate [petitioner’s] speedy trial

 act right”).

         10.    The government further submits that even if petitioner were allowed to file a brief

 in reply, the ultimate outcome would be the same. For the reasons stated in the government’s

 response brief, the affidavits submitted by petitioner’s former counsel, and this Court’s June 22

 written opinion, Docket No. 150, petitioner has no meritorious grounds for post-conviction

 relief; he received a fair trial with the benefit of able and experienced defense counsel, and his

 appeal was drafted by a highly experienced appellate practitioner. The allegations relevant to his

 ineffective assistance claims were set out in his initial § 2255 pleading, and each was shown to

 be meritless. It is difficult to imagine what reply petitioner could make to the government’s

 response brief and his counsels’ affidavits that would not involve additional perjurious

 misstatements to the Court.

         11.    For the reasons listed above, the government submits that petitioner’s latest

 motion for reconsideration should be denied.

                                                Respectfully submitted,

                                                G. Zachary Terwilliger
                                                Acting United States Attorney

                                       By:                 /s/
                                                Andrew Bosse
                                                Assistant United States Attorney
                                                Attorney for the United States
                                                United States Attorney’s Office
                                                101 West Main Street, Suite 8000
                                                Norfolk, Virginia 23510
                                                Office Number - 757-441-6331
                                                Facsimile Number - 757-441-6689
                                                E-Mail Address - andrew.bosse@usdoj.gov



                                                   3
Case 2:15-cr-00002-RAJ-DEM Document 159 Filed 11/05/18 Page 4 of 4 PageID# 2199




                                   CERTIFICATE OF SERVICE

        I HEREBY CERTIFY that on this 5th day of November, 2018, I electronically filed the

 foregoing with the Clerk of Court using the CM/ECF system, and mailed a true and correct copy

 of the foregoing to the following non-filing user:

                                      Jason Marvin Saunders
                                      Inmate No. 85152-083
                                          USP Big Sandy
                                      U.S. PENITENTIARY
                                          P.O. BOX 2068
                                         INEZ, KY 41224


                                               /s/
                                               Andrew Bosse
                                               Assistant United States Attorney
                                               Attorney for the United States
                                               United States Attorney’s Office
                                               101 West Main Street, Suite 8000
                                               Norfolk, Virginia 23510
                                               Office Number - 757-441-6331
                                               Facsimile Number - 757-441-6689
                                               E-Mail Address - andrew.bosse@usdoj.gov




                                                  4
